                    Case 2:06-cr-00441-DAD Document
                                UNITED STATES       69 Filed COURT
                                                DISTRICT     01/25/07 Page 1 of 1
                                  EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                             )
         v.                                                  )    CR. S 06-441 GEB
                                                             )
JAVIER MUNOZ                                                 )

                                   APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     (X) Ad Prosequendum                                   ( ) Ad Testificandum.
Name of Detainee:              JAVIER MUNOZ

Detained at (custodian):               Deuel Vocational institution (DVI)

Detainee is:      a.)      (X) charged in this district by:
                                  (X) Indictment                       ( ) Information   ( ) Complaint
                                  Charging Detainee With: Conspiracy to distribute and to possess with intent
                                                            to distribute Methamphetamine

         or       b.)      ( ) a witness not otherwise available by ordinary process of the Court
Detainee will: a.)         () return to the custody of detaining facility upon termination of proceedings
       or      b.)         (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                is currently being served at the detaining facility
Appearance is necessary FORTHWITH                 in the Eastern District of California.
                                    Signature:   /s/ Phillip A. Talbert
                                    Printed Name & Phone No: PHILLIP A. TALBERT (916) 554-2789
                                    Attorney of Record for:     United States of America

                                          WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                                 ( ) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith and any further proceedings
to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
1/24/07                                                               /s/ Gregory G. Hollows
Date                                                                  United States District/Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                Male X Female
 Booking or CDC #:                                                                      DOB:        X/XX/1977
 Facility Address:                23500 Kasson Road                                     Race:
                                  Tracy, CA 95378                                       FBI #:
 Facility Phone:
 Currently Incarcerated For:

                                                     RETURN OF SERVICE

Executed on                   by
                                                                                 (Signature)

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Form Crim-48                                                                                                Revised 11/19/97
